Case 1:21-cr-00091-RCL Document 127-5 Filed 04/19/23 Page 1of1
NON-NEGOTIABLE NOTICE OF INQUIRY

Notice Date: Day: Six Month: One Year: 2023 CE

Judge Royce C. Lamberth
333 Constitution Avenue N.W.
Washington, D.C. 20001

PLEASE TAKE NOTICE that I, Taylor James Johnatakis, a sentient moral being, inquire into the status
of this matter.

Does the Court’s record reflect I have Accepted and Returned the offers and presentments of the Clerk,
This Court, and the Plaintiff for settlement and closure of this matter?

Does the Court’s record reflect that Judge Royce C. Lamberth has been assigned Case Number
1:21-cr-00091-RCL and that assignment passes title?

Does the Court’s Record Reflect that there is a CUSIP (Committee on Uniform Security Identification
Procedures) for Case Number 1:21-cr-00091-RCL?

Does the Court’s records reflect that the CUSIP for Case Number 1:21-cr-00091-RCL is 025081746 and
has a marketed value of $676,840,000.00?

Judge Lamberth, are you continuing this matter for your political or financial benefit or the political or
financial benefit of some third party(s)?

Judge Lamberth, Is it honorable for a judge to adjudicate a matter when there is a direct or indirect
financial benefit to the judge and others associated with a matter with now known CUSIP information
above?

Judge Lamberth, would it not be honorable to discharge this matter and issue the order of the court to me
immediately?

Does the Court’s record reflect that when the law fails to provide remedy that equity follows the law and
in any conflict or variance between the rules of law and the rules of equity, that equity shall prevail?

“He who is guarantor for a stranger suffers harm, But one who hates shaking hands in a pledge is safe.”

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT

PREJUDICE.

Sincerely,
a= — uso fame Sr
| Taylor James Johnatakis
| c/o 29628 Gamble Place NE
| Aplci Cant | Kingston, Washington

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Also Notified: — “J

Angela D. Caesar, Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W. Washington, D.C. 20001
Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530
Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

1 Proverbs 11 verse 15, The Scriptures, published by Institute For Scripture Research (PTY) LTD South Africa P.O. Box 1830 Northriding 2162
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